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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                        PANAMA CITY DIVISION

MARQUISE JENKINS,

      Plaintiff,

v.                                                   Case No. 5:19cv40-TKW-MJF

S. PAYNE, et al.,

     Defendants.
______________________________/

                                        ORDER

      This case is before the Court based on the magistrate judge’s Report and

Recommendation (Doc. 26). No objections were filed. Upon due consideration of

the Report and Recommendation and the case file, I agree with the magistrate

judge’s determination that this case should be dismissed for failure to state a claim

upon which relief may be granted. Accordingly, it is

      ORDERED that:

      1.     The Report and Recommendation is adopted and incorporated by

             reference in this Order.

      2.     This case is DISMISSED pursuant to 28 U.S.C. §§1915(e)(2)(B)(ii)

             and 1915A(b)(1) for failure to state a claim upon which relief may be

             granted, and the Clerk shall close the file.
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DONE and ORDERED this 23rd day of October, 2020.

                        T. Kent Wetherell, II
                       T. KENT WETHERELL, II
                       UNITED STATES DISTRICT JUDGE




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